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sTEPHANlE siMMoNs
Plaintiff/Counter-Defendant,

vs. NO. 04-

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LI»&$
MOTION TO AI)D NECESSARY PARTY AND INTERPLEAD FUNDS INTO COURT

    
 
 

 

AL-LSTATE lNSURANCE COMPANY,

Defendant/Counter-Plaintift`.

 

 

 

Comes now Allstate lnsurance Cornpany, by and through counsel, pursuant to Rule 14 of the
F ederal Ru]es of Civil Procedure, and moves this Court for leave to tile a petition to interplead funds
from the settlement ol"the case ot`Stephanie Simmons v. Allstate lnsurance Company into the court
and that it be allowed leave to add the necessary party, Washington l\/lutual Finance Group, LLC
f/k/'a Washington Mutual Banl<;, FA, as a necessary party to this action. Allstate would show to the
Court that it is has settled its case with Stephanie Simmons for 573,000.00 and that Washington
Mutual is listed as the mortgagee on the policy of insurance with Allstate lnsurance Company.
Allstate insurance Company cannot issue the settlement check directly to Stephanie Simrnons
without a release From Washington l\/lutual. Allstate has not been able to obtain such release and
therefore it is necessary to bring Washington Mutual in as a necessary party to determine any ri ghts,
which it may have to the settlement proceeds

Attached hereto as Exhibit “A” is a proposed interpleader petition Allstate seeks to file with

this Court.

This document entered on the docket h

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Respectfully submitted,

HOLLEY, WALDROP, NEARN & LAZAROV, P.C.

David M. Waldrop (B.P.R. #13079)
Attorney for Allstate lnsurance Company
9032 Stone Walk Place

Germantown, TN 33138

(901) 759-3489 - phone

(901) 759-3479 » fair

HWNL No.; 2.2815

CERTIFICATE OF SERVICE
l hereby certify that a copy ol` the foregoing has been served upon DeeShawn Pcoplcs,

Attorney at Law, 100 N. Main Street, Suite 2909, Memphis, TN 38103, by placing same in the U. S.
Mail, postage prepaid, this the ljl¢' day of A'p f'l l , 2005.

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This notice confirms a copy of the document docketed as number 21 in
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Dee ShaWn Peoples

LAW OFFICE OF R. LINLEY RICHTER, IR.
100 N. l\/lain St.

Ste. 2909

l\/lemphis7 TN 38103

David M. Waldrop

HOLLEY WALDROP NEARN & LAZAROV
9032 Stone Walk Place

Germantown7 TN 3 8138

Honorable .l on McCalla
US DISTRICT COURT

